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  1 BRADLEY/GROMBACHER, LLP                      CAPSTONE LAW APC
    Marcus Bradley, Esq. (SBN 174156)            Orlando Villalba, Esq. (SBN 232165)
  2                                              Helga Hakimi, Esq. (SBN 257381)
    Kiley Grombacher, Esq. (SBN 245960)
  3 Lirit King, Esq. (SBN 252521)                Roxanna Tabatabaeepour, Esq.
    31365 Oak Crest Drive, Suite 240             (SBN260187)
  4                                              1875 Century Park East, Suite 1000
    Westlake Village, CA 91361
  5 Telephone: (805) 270-7100                    Los Angeles, CA 90067
    Facsimile: (805) 618-2939                    Telephone: (310) 556 4811
  6                                              Facsimile: (310) 943 0396
    Email:
  7 mbradley@bradleygrombacher.com               Email:
    kgrombacher@bradleygrombacher.com            Orlando.Villalba@capstonelawyers.com
  8                                              Helga.Hakimi@capstonelawyers.com
    Email: lking@bradleygrombacher.com           Roxanna.Taba@capstonelawyers.com
  9
 10 Attorneys for Plaintiff
 11
 12                       UNITED STATES DISTRICT COURT

 13                      CENTRAL DISTRICT OF CALIFORNIA
 14
      SANDRO RODRIGUEZ                      CASE NO. 8:21-CV-01711-CJC (JDEx)
 15
 16                     PLAINTIFF, PLAINTIFF’S NOTICE OF MOTION
                                     AND MOTION FOR PRELIMINARY
 17   v.                             APPROVAL OF CLASS ACTION
 18                                  SETTLEMENT; MEMORANDUM OF
      MITSUBISHI CHEMICAL CARBON POINTS AND AUTHORITIES
 19   FIBER AND COMPOSITES, INC., et
 20   al.                            Date: January 23, 2023
                                     Time: 1:30 p.m.
 21                    DEFENDANT Place: Courtroom 9B
 22
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                                             I
         PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR PRELIMINARY APPROVAL OF CLASS
                 ACTION SETTLEMENT; MEMORANDUM OF POINTS AND AUTHORITIES
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  1                                    NOTICE OF MOTION
  2          TO THE CLERK OF COURT, ALL PARTIES, AND THEIR COUNSEL
  3   OF RECORD, PLEASE TAKE NOTICE THAT:
  4          On January 23, 2023, at 1:30 p.m. or as soon thereafter as can be heard in
  5   Courtroom 9B of the above-captioned Court, located at the Ronald Reagan Federal
  6   Building and United States Courthouse, 411 West Fourth Street, Santa Ana, CA
  7   92701, plaintiff Sandro Rodriguez (“Plaintiff”) will and hereby does move the Court
  8   for an Order preliminarily approving the class settlement, certifying a class for
  9   settlement purposes, approving the manner and form of notice to the class,
 10   appointing Plaintiff as the class representative, appointing Plaintiff’s counsel as class
 11   counsel, preliminarily approving class counsel’s fees and expenses, preliminarily
 12   approving Plaintiff’s service payment, setting a hearing for final approval of the class
 13   settlement, and granting such other and further relief as the Court deems just and
 14   proper, on the following grounds:
 15          1.       The settlement is fair, reasonable and adequate under Rule 23, achieved
 16   as the result of informed, arms-length negotiations, and deserving of approval for the
 17   benefit of the settlement class members to whom it pertains.
 18          2.       The settlement class meets the requirements of Rule 23.
 19          3.       The manner and form of notice are the best notice practicable under the
 20   circumstances.
 21          4.       Plaintiff and his counsel have and will adequately represent the interests
 22   of the class.
 23          5.       The proposed attorneys’ fees and costs and service payments are
 24   reasonable.
 25          This motion shall be based on the memorandum of points and authorities filed
 26   by Plaintiff, the Declarations of Plaintiff, Kiley Lynn Grombacher, and Raul Perez,
 27   and the exhibits thereto, and the Court’s own records, files, notes, and other
 28   documents on file in this matter, as well as upon all oral and/or documentary
                                                   II
         PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR PRELIMINARY APPROVAL OF CLASS
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  1   evidence as may be properly presented at the time of the hearing of this matter.
  2
  3   DATED: December 21, 2022                       BRADLEY/GROMBACHER, LLP
                                                     CAPSTONE LAW APC
  4
  5
                                             By:     /s/ Kiley Grombacher
  6
                                                     Marcus Bradley, Esq.
  7                                                  Kiley Grombacher, Esq.
  8                                                  Lirit King, Esq.
                                                     Orlando Villalba, Esq.
  9
 10                                                  Attorneys for Plaintiff

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  1                  MEMORANDUM OF POINTS AND AUTHORITIES
  2   I.      INTRODUCTION
  3           This is a wage and hour class action against defendants Mitsubishi Chemical
  4   Carbon Fiber and Composites, Inc., Mitsubishi Chemical Holdings America, Inc. and
  5   Mitsubishi Chemical America, Inc. (“Mitsubishi” or “Defendants”), on behalf of all
  6   current and former non-exempt employees who worked for Defendants in California
  7   during the period December 23, 2018 through the date of preliminary approval of the
  8   settlement or October 1, 2022, whichever is sooner.
  9           By this action, Plaintiff challenged Mitsubishi’s employment policies and
 10   practices alleging, inter alia, that Defendants failed to pay employees all wages
 11   owed, to provide meal and rest periods, to reimburse business expenses, to provide
 12   safety devices, to pay vacation wages, to pay timely wages during employment or
 13   upon separation, and to provide accurate and/or complete wage statement. Plaintiff
 14   is pleased to announce that the parties have reached a settlement of this action and
 15   that this litigation has therefore accomplished its aims. The parties have negotiated a
 16   settlement which, if approved, will provide for an Eight Hundred Thousand Dollar
 17   ($800,000) common fund. Class Members need not submit a claim and will be
 18   compensated pro rata according to the weeks they worked within the Class Period.
 19           An objective evaluation of the Settlement confirms that the relief negotiated
 20   by the Parties is fair and reasonable. The Settlement was negotiated by the Parties at
 21   arm’s length during mediation with the Honorable Jay Gandhi (Ret.), an experienced
 22   mediator, and the Settlement confers substantial benefits to Class Members.1 By
 23   settling now rather than proceeding to trial, Class Members will not have to wait for
 24   relief, nor will they have to bear the risk of class certification being denied or of
 25   Defendants prevailing at trial.
 26
 27
      1
       The resume for the Honorable Jay Gandhi is attached to the Grombacher Decl. as
 28   Exhibit B.
                                                1
           PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR PRELIMINARY APPROVAL OF CLASS
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  1            As discussed below, the proposed Settlement satisfies all criteria for
  2   preliminary settlement approval and falls within the range of reasonableness.
  3   Accordingly, Plaintiff respectfully requests that this Court grant preliminary
  4   approval of the Settlement Agreement.
  5   II.      BACKGROUND
  6            A.    Procedural History
  7            Plaintiff filed a class action complaint on September 7, 2021, alleging multiple
  8   wage and hour class action claims against Defendants, including claims for unpaid
  9   wages due to alleged off-the-clock work, failure to provide meal and rest breaks,
 10   unreimbursed business expenses, failure to pay vacation wages, failure to provide
 11   safety devices, and the standard derivative wage and hour claims. On October 14,
 12   2021, Defendants removed the class action to this Court.
 13            On April 4, 20200, Plaintiff filed a separate lawsuit in the Orange County
 14   Superior Court seeking civil penalties under the Private Attorneys General Act of
 15   2004, California Labor Code sections 2698, et seq. (“PAGA”) premised on the
 16   same violations as those alleged in his class action complaint, entitled Rodriguez v.
 17   Mitsubishi Chemical Carbon Fiber and Composites, Inc. et al., Case 30-2022-
 18   01253057-CU-OE-CXC (“PAGA Action”.) The PAGA Action was dismissed on
 19   September 30, 2022.
 20            B.    Mediation & Negotiation
 21            For purposes of mediation, Mitsubishi shared time and payroll records for a
 22   randomly selected sample population of 20% of the putative class during the Class
 23   Period. Mitsubishi also provided policy documents and other information in the
 24   interest of resolving these matters, including excerpts from its handbooks. The
 25   parties agreed to stay formal discovery while the parties proceed with mediation.
 26            Additionally, prior to mediation, Mitsubishi informed Plaintiff’s counsel of an
 27   earlier class action settlement in the Henry Cress class action (Case No. 34-2017-
 28   00222101, Sacramento County Superior Court), which released similar claims to
                                                   2
            PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR PRELIMINARY APPROVAL OF CLASS
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  1   those alleged here through December 22, 2018. Plaintiff reviewed the relevant
  2   documents and the parties agreed to resolve all class and PAGA claims for the
  3   shorter time period not covered by the Cress lawsuit
  4          Armed with this information, and through mediation conducted on May 26,
  5   2022, with Judge Gandhi, Plaintiff was able to reach an agreement in principle on a
  6   settlement.
  7   III.   OVERVIEW OF SETTLEMENT TERMS
  8          The principal terms of the Agreement are as follows:
  9          A.     The Proposed Settlement Class
 10          All current and former non-exempt employees who worked for Defendants in
 11   California during the time period of December 23, 2018 through the date of
 12   preliminary approval of the settlement or October 1, 2022. Settlement Agreement at
 13   ¶¶ Article I, c, h. “PAGA Group Members” means all Class Members employed by
 14   Defendants at any time between September 7, 2020 through October 1, 2022
 15   (“PAGA Period”). Settlement Agreement at ¶¶ Article I, c, cc.
 16          B.     Settlement Terms
 17          Under the Agreement, Defendants will pay Eight Hundred Thousand Dollars
 18   and Zero Cents ($800,000.00) (“Gross Settlement Amount” or “GSA”) to fully and
 19   finally settle this matter. Settlement Agreement at ¶ Article I, t. In no event will
 20   Defendants be required to pay more than the Gross Settlement Amount, except for
 21   the employer’s share of payroll taxes, which Defendants will pay separately from
 22   and in addition to the Gross Settlement Amount. No portion of the GSA will revert
 23   to Defendants for any reason. The following deductions from the GSA will be made,
 24   subject to the Court’s approval:
 25                 1.   Class Representative’s General Release Payment
 26          Subject to Court approval, Plaintiff shall receive a Service Enhancement not to
 27   exceed $7,500 in consideration for a general release of all claims against Defendants.
 28   Settlement Agreement at ¶ Article I, n The payment shall be made from the GSA. If
                                                3
         PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR PRELIMINARY APPROVAL OF CLASS
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  1   the amount awarded is less than the amount requested, the difference shall become
  2   part of the Net Settlement Amount (“NSA”). The payment is in consideration for a
  3   general release of Plaintiff’s claims against Defendants, his efforts in the litigation
  4   and the risks he undertook for the benefit of the class. See Settlement Agreement at
  5   ¶ Article III, 3.06(d).
  6                 2.        Attorneys’ Fees and Costs
  7          Subject to Court approval, Plaintiff’s Counsel shall request an award of
  8   attorneys’ fees in an amount of $264,000 (one third of the GSA). See Settlement
  9   Agreement at ¶¶ Article I, e. This includes work remaining in documenting the
 10   settlement, securing Court approval, ensuring the settlement is fairly administered,
 11   and obtaining dismissal of the action. Also, subject to Court approval, Plaintiff’s
 12   Counsel shall request a reimbursement from the GSA for actual litigation costs in an
 13   amount not to exceed $15,000.00. See Settlement Agreement at ¶¶ Article I, e;
 14   Article III, 3.06(b).
 15                 3.        Payment to the LWDA and PAGA Releasees
 16          Subject to Court approval, the Agreement allots $50,000.00 to PAGA
 17   penalties. Seventy-five percent (75% or $37,500.00) of the PAGA Payment shall be
 18   paid to the Labor and Workforce Development Agency (“LWDA”) and twenty-five
 19   percent (25% or $2,500.00) of the PAGA Payment will be distributed to the PAGA
 20   Group Members on a pro rata basis based on the number of workweeks that they
 21   worked from during the PAGA Period. See Settlement Agreement at ¶¶ Article I, s,
 22   bb.
 23                 4.        Settlement Administration Expenses
 24          After obtaining competing bids from administrators, the Parties have agreed to
 25   the appointment of Phoenix Settlement Administrators (“Phoenix”) as the settlement
 26   administrator.     See Settlement Agreement at ¶¶ Article I, mm.       Phoenix is an
 27   experienced class administration company that has acted as claims administrator in
 28   numerous wage and hour cases. The Agreement allots an amount not to exceed
                                                  4
         PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR PRELIMINARY APPROVAL OF CLASS
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  1   $12,000.00 to administer the Settlement. See Settlement Agreement at ¶ Article I, ll.
  2           The Administration Costs will be paid from the GSA. If Phoenix’s actual
  3   costs or the amount awarded is less than the amount allotted in the Agreement, the
  4   difference shall become part of the NSA and distributable to Participating
  5   Class Members. These costs are reasonable, as Phoenix will mail notice packets to
  6   the class, maintain a website which has information about the Settlement and links to
  7   the settlement documents, and keep track of objections and requests for exclusion
  8   from the Settlement. Should preliminary and final approval be granted by the Court,
  9   Phoenix will work with the Parties to facilitate the funding of the GSA, disbursement
 10   of all Court-approved payments, and disbursement of the NSA to Participating
 11   Class Members.
 12                 5.       Settlement Payments to Class Members
 13           After all deductions have been made, it is estimated that $451,500 (i.e., the
 14   “Net Settlement Amount” or “NSA”) will be available for disbursement to
 15   Participating Class Members (all Class Members who do not submit a valid and
 16   timely request to exclude themselves from this Settlement). The money available for
 17   payout to these individuals comes out of the NSA, which is what remains of the GSA
 18   after    subtracting    all   Court   approved   attorneys’   fees   and   costs,   the
 19   Class Representative General Release Payments, Administration Costs, and the
 20   PAGA Payment. Each Class Member who does not timely opt-out of the Settlement
 21   will receive a pro rata share (their “Class Member Payment”) of the NSA based on
 22   the number of weeks that he or she worked in each position covered by the
 23   Settlement. See Settlement Agreement at ¶¶ Article I, q; Article III, 3.06(f).
 24           One-third of the Class Member Payment constitutes wages for the purposes of
 25   IRS reporting, and will be reported to the IRS pursuant to form W-2, while the other
 26   two-thirds constitutes payments for non-wage penalties, damages, and interest and
 27   will reported to the IRS pursuant to form 1099. The payment to the PAGA Group
 28   Members constitutes payments for non-wage penalties, damages, and interest and
                                                 5
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  1   will reported to the IRS pursuant to form 1099. The Settlement Administrator (and
  2   not Defendants) will remit all federal and state taxes owed by Defendants and will
  3   issue W2s and 1099s on all funds distributed. See Settlement Agreement at ¶ Article
  4   III. 3.06(f).
  5                   6.   Funding and Distribution of Settlement Funds
  6          Within fifteen (15) business days after the Date of Finality, Defendants shall
  7   transfer the Gross Settlement Amount, plus Defendants’ share of employer-side
  8   payroll taxes, as set forth herein, into a QSF established by the Settlement
  9   Administrator either directly or by sending the funds to the Settlement Administer
 10   to be deposited and distributed. Settlement Agreement at ¶ Article III. 3.06(a). The
 11   Settlement Administrator will use these funds to fund payment of the Individual
 12   Settlement Payments, Class Counsel’s Attorneys’ Fees and Costs’ Payment, the
 13   Enhancement Award, the LWDA Payment, and the Settlement Administration
 14   Costs. Id.
 15          Within fifteen (15) business days after receiving Defendants’ final payment
 16   funding the Gross Settlement Amount in full, the Settlement Administrator will
 17   pay the Individual Settlement Payments, Class Counsel’s Attorneys’ Fees and
 18   Costs’ Payment, the LWDA Payment, the Enhancement Award, and employer and
 19   employee tax withholdings applicable to the Net Settlement Amount allocated to
 20   wages. Prior to this distribution, the Settlement Administrator will perform a
 21   search based on the National Change of Address Database to update and correct for
 22   any known or identifiable address changes. Id.
 23   See id.
 24                   7.   Uncashed Checks
 25          Pursuant to the Agreement, a Participating Class Member and PAGA Group
 26   Member must cash his or her Class Settlement Share check, and any remaining
 27   Aggrieved Employees his or her Aggrieved Employee Payment check, within 180
 28   calendar days after it is mailed to him or her. If any check is not cashed within 180
                                                 6
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  1   days after its mailing to the Participating Class Member and PAGA Group Member,
  2   the Settlement Administrator will distribute the unclaimed funds represented by the
  3   uncashed check to Legal Aid of Los Angeles. See Settlement Agreement at ¶ Article
  4   III, 3.06(f).
  5   IV.    Released Claims
  6          In exchange for Defendants’ promise to make the payments provided for in the
  7   Agreement, upon the Court’s final approval of this Settlement, Participating Class
  8   Members will fully release and discharge the Released Parties from the Released
  9   Claims:
                      All claims, demands, rights, liabilities, penalties, fees, and causes
 10                   of action that were or could have been asserted by reason of or in
                      connection with any matter or fact set forth or referred to in the
 11                   operative complaint in the Action (whether in tort, contract,
                      statute or otherwise) during the Class Period, including, but not
 12                   limited to, for alleged violations of Labor Code sections 200, 201-
                      203, 218.5, 221, 223, 226, 226.3, 226.7, 227.3, 500, 510, 512,
 13                   516, 1174.5, 1182.11-1182.12, 1194, 1194.2, 1197, 1198, 2802,
                      2699.3 et seq., 6400-6401, or any claims based on the following
 14                   allegations: failure to pay minimum, regular, or hourly wages,
                      and/or alleged off-the-clock work; failure to pay overtime wages
 15                   or accurate overtime wages; failure to provide compliant meal
                      periods; failure to provide compliant rest periods; failure to
 16                   reimburse for necessary business expenses; failure to pay vacation
                      wages; failure to pay timely wages during employment or upon
 17                   separation; failure to provide accurate and/or complete wage
                      statements; or violation of Cal. Bus. & Prof. Code section 17200
 18                   et seq. by engaging in the foregoing conduct. Released Claims
                      include all claims for unpaid wages, overtime wages, statutory
 19                   penalties, civil penalties, damages of any kind, interest, attorneys’
                      fees, costs, injunctive relief, restitution, and any other equitable
 20                   relief under California or federal statute, ordinance, regulation,
                      common law, or other source of law, including but not limited to
 21                   the California Labor Code, California Business & Professions
                      Code, California Civil Code, California Industrial Welfare
 22                   Commission Wage Orders.
 23   See Settlement Agreement at ¶ Article I, hh.
 24          Additionally, all PAGA Group Members will release the Released Parties
 25   from the Released PAGA Claims:
 26                   All claims, demands, rights, liabilities, penalties, fees, and causes
                      of action under PAGA during December 23, 2018 through the
 27                   date of preliminary approval) including under Labor Code
                      sections 558 and/or 2698 et seq., predicated on any Labor Code
 28                   violations alleged in the operative complaint in the Action (which
                                                     7
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                    include, but are not limited to, Labor Code sections 200, 201, 202,
  1                 203, 218.5, 221, 223, 226, 226.3, 226.7, 227.3, 500, 510, 512,
                    516, 1174.5, 1182.11- 1182.12, 1194, 1194.2, 1197, 1198, 2802,
  2                 6400-6401) or that could have been alleged in the operative
                    complaints in the Action based on the facts, policies, practices,
  3                 occurrences, or acts alleged in the operative complaints in the
                    Action, or that are based on any failure to pay minimum, regular,
  4                 or hourly wages, and/or alleged off-the-clock work; failure to pay
                    overtime wages or accurate overtime wages; failure to provide
  5                 compliant meal periods; failure to provide compliant rest periods;
                    failure to reimburse for necessary business expenses; failure to
  6                 pay vacation wages; failure to pay timely wages during
                    employment or upon separation; failure to provide accurate and/or
  7                 complete wage statements.
  8   See Settlement Agreement at ¶ Article I, ii.
  9            Only Plaintiff has agreed to a general release of all claims, including a waiver
 10   under California Civil Code section 1542. See Settlement Agreement at ¶ Article V,
 11   5.03.
 12   V.       ANALYSIS
 13            To determine whether preliminary approval of the Settlement Agreement is
 14   appropriate, the Court reviews (1) the requirements for class certification, (2) the
 15   fairness of the proposed settlement, (3) the attorney fees and incentive awards
 16   requested, (4) the request for appointment of a settlement administrator, and (5)
 17   issues relating to notice of the proposed settlement.
 18            A.    Class Certification Requirements
 19            Where, as here, a plaintiff seeks conditional class certification for purposes of
 20   settlement, the Court must ensure that the four requirements of Federal Rule of Civil
 21   Procedure 23(a) and at least one of the requirements of Rule 23(b) are met. Amchem
 22   Prods., Inc. v. Windsor, 521 U.S. 591, 620 (1997); Staton v. Boeing Co., 327 F.3d
 23   938, 952–53 (9th Cir. 2003). Here, the proposed settlement class includes “[a]ll
 24   current and former non-exempt employees who worked for Defendants in California
 25   during the time period of December 23, 2018 through the date of preliminary
 26   approval of the settlement or October 1, 2022." Settlement Agreement at ¶¶ Article I,
 27   c, h.
 28   ///
                                                   8
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  1                 1.      Rule 23(a) Requirements
  2          Under Rule 23(a), the plaintiff must show the class is sufficiently numerous,
  3   that there are questions of law or fact common to the class, that the claims or
  4   defenses of the representative parties are typical of those of the class, and that the
  5   representative parties will fairly and adequately protect the class's interests.
  6                         a.   Numerosity
  7          Rule 23(a)(1) requires that “the class is so numerous that joinder of all
  8   members is impracticable.” There is no magic number required to satisfy
  9   numerosity; instead, courts consider the facts of each specific case. See In re Cooper
 10   Cos. Inc. Sec. Litig., 254 F.R.D. 628, 634 (C.D. Cal. 2009) (citing Gen. Tel. Co. of
 11   Nw., Inc. v. E.E.O.C., 446 U.S. 318, 330 (1980)). “As a general matter, courts have
 12   found that numerosity is satisfied when class size exceeds 40 members.” Moore v.
 13   Ulta Salon, Cosmetics & Fragrance, Inc., 311 F.R.D. 590, 602–03 (C.D. Cal. 2015);
 14   see Tait v. BSH Home Appliances Corp., 289 F.R.D. 466, 473–74 (C.D. Cal. 2012).
 15          Here, numerosity is easily satisfied because Defendants’ employment and
 16   payroll records show there are approximately 348 individuals in the proposed
 17   settlement class. 2
 18                         b.   Commonality
 19          Rule 23(a)(2) requires that “there are questions of law or fact common to the
 20   class.” The plaintiff must “demonstrate that the class members ‘have suffered the
 21   same injury,’ ” which “does not mean merely that they have all suffered a violation
 22   of the same provision of law.” Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350
 23   (2011) (quoting Gen. Tel. Co. of Sw. v. Falcon, 457 U.S. 147, 157 (1982)). Rather,
 24   the plaintiff's claim must depend on a “common contention” that is capable of
 25   classwide resolution. Id. This means “that determination of its truth or falsity will
 26   resolve an issue that is central to the validity of each one of the claims in one stroke.”
 27
      2
        The Parties will provide an updated number of class members for purposes of the Motion
 28   for Final Approval
                                                  9
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  1   Id.
  2            Plaintiff alleges that Defendants required Plaintiff and Class Members to
  3   consistently work off the clock, including during their meal breaks. This
  4   uncompensated time includes time spent donning and doffing before and after shifts,
  5   answering work calls after shifts, waiting outside the facilities to be let in prior to
  6   starting a shift, and mandatory health screenings prior to shifts, all of which was
  7   done off the clock. Further, Class Members were required to submit to mandatory
  8   drug tests off the clock. The failure to pay at least minimum wages to Plaintiff and
  9   other Class Members for each and every hour worked violates California Labor Code
 10   §§ 1182.11-1182.12, 1194, 1194.2, and 1197; the applicable IWC Wage Order,
 11   section 4. Further, Plaintiff alleges that Defendants failed to pay all wages owed, to
 12   provide meal and rest periods, to reimburse business expenses, to provide safety
 13   devices, to pay vacation wages, to pay timely wages during employment or upon
 14   separation, and to provide accurate and/or complete wage statement.
 15            Resolution of the class's claims presents common questions, including: (1)
 16   whether Defendants failed to pay Plaintiff and Class Members for all hours worked
 17   and for all overtime; (2) whether Defendants had a standard policy of not providing
 18   compliant meal breaks and premiums to Plaintiff and Class Members; (3) whether
 19   Defendants had a standard policy of not providing compliant rest breaks and
 20   premiums to Plaintiff and Class Members; (4) whether Defendants had a standard
 21   policy of not paying out vacation pay; (5) whether Defendants failed to maintain a
 22   safe working environment; (6) whether Defendants failed to reimburse Plaintiff and
 23   the Plaintiff Class for all business-related expenses; (7) whether Defendants failed to
 24   timely pay Plaintiff and Class Members all wages during employment or upon
 25   separation, and (8) whether Defendants failed to provide accurate wage statements to
 26   Plaintiff and Class Members . Those questions are central to each class member’s
 27   claims and their resolution will help determine, “in one stroke,” whether Defendants
 28   violated the law and if so, the amount of damages the class may obtain. See Dukes,
                                                10
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  1   564 U.S. at, 350.
  2                         c.    Typicality
  3            Rule 23(a)(3) requires that the “claims or defenses of the representative parties
  4   are typical of the claims or defenses of the class.” Representative claims are
  5   “typical” if they are “reasonably coextensive with those of the absent class members;
  6   they need not be substantially identical.” Hanlon v. Chrysler Corp., 150 F.3d 1011,
  7   1020 (9th Cir. 1998). Here, as an hourly non-exempt employee, Plaintiff was subject
  8   to the same policy as the rest of the class. (See Rodriguez Decl. ¶ 3.) His injury and
  9   his claims are the same as those of the class members. (See id.) Accordingly,
 10   Plaintiff’s claims are “reasonably coextensive” with those of the class. See Hanlon,
 11   150 F.3d at 1020.
 12                         d.    Adequacy
 13            Rule 23(a)(4) requires that “the representative parties will fairly and
 14   adequately protect the interests of the class.” This factor requires (1) a lack of
 15   conflicts of interest between the proposed class and the proposed representative
 16   plaintiff, and (2) representation by qualified and competent counsel that will
 17   prosecute the action vigorously on behalf of the class. Staton, 327 F.3d at 957. The
 18   concern in the context of a class action settlement is that there be no collusion
 19   between the defendant, class counsel, and class representatives to pursue their own
 20   interests at the expense of the interests of the class. Id. at 958 n.12.
 21            There is no evidence of a conflict of interest between Plaintiff and the class.
 22   Plaintiff’s claims are identical to those of the class, and he has every incentive to
 23   vigorously pursue those claims. Nor is there any evidence that Plaintiff’s counsel
 24   will not adequately represent or protect the interests of the class. Plaintiff’s counsel,
 25   Bradley/Grombacher LLP and Capstone Law APC have extensive experience
 26   litigating wage-and-hour class actions. (See Grombacher Decl. ¶¶ 32-39.) The record
 27   indicates that Counsel has represented the class capably and adequately.
 28   ///
                                                   11
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  1            2. Rule 23(b)(3) Requirements
  2         In addition to the requirements of Rule 23(a), Plaintiff must satisfy the
  3   requirements of Rule 23(b) to show that the action falls within one of the three
  4   “types” of classes. Here, Plaintiff seeks certification under Rule 23(b)(3). Rule
  5   23(b)(3) allows certification where (1) questions of law or fact common to the
  6   members of the class predominate over any questions affecting only individual
  7   members, and (2) a class action is superior to other available methods for the fair and
  8   efficient adjudication of the controversy.
  9                      a.     Predominance
 10         Although the predominance requirement overlaps with Rule 23(a)(2)’s
 11   commonality requirement, it is a more demanding inquiry. Hanlon, 150 F.3d at 1019.
 12   The “main concern in the predominance inquiry … [is] the balance between
 13   individual and common issues.” In re Wells Fargo Home Mortg. Overtime Pay
 14   Litig., 571 F.3d 953, 959 (9th Cir. 2009). The plaintiff must show that “questions
 15   common to the class predominate, not that those questions will be answered, on the
 16   merits, in favor of the class.” Amgen Inc. v. Conn. Ret. Plans & Tr. Funds, 568 U.S.
 17   455, 459 (2013).
 18         Here, questions common to the class predominate over any questions affecting
 19   only individual members. The central question in this case is whether Defendants
 20   had a policy of requiring employees to perform work for which they were not
 21   compensated including: time spent donning and doffing before and after shifts,
 22   answering work calls after shifts, waiting outside the facilities to be let in prior to
 23   starting a shift, and mandatory health screenings prior to shifts, all of which was
 24   done off the clock. That question can be resolved using common evidence regarding
 25   Defendants’ policy for all class members.
 26         The collateral questions in this case are whether Defendants paid class
 27   members all wages owed, whether Defendants failed to provide meal and rest breaks,
 28   whether Defendants failed to reimburse for necessary business expenses, whether
                                                   12
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  1   Defendants failed to pay vacation wages, whether Defendants failed to pay timely
  2   wages during employment and upon separation, and whether it provided accurate
  3   wage statements. These questions can also be resolved using common evidence—
  4   including Defendants’ time records and pay stubs—for all Class Members.
  5                         b.   Superiority
  6         Class actions certified under Rule 23(b)(3) must also be “superior to other
  7   available methods for fairly and efficiently adjudicating the controversy.” Fed. R.
  8   Civ. P. 23(b)(3). Courts consider four nonexclusive factors in evaluating whether a
  9   class action is the superior method for adjudicating a plaintiff's claims: (1) the
 10   interest of each class member in individually controlling the prosecution or defense
 11   of separate actions, (2) the extent and nature of any litigation concerning the
 12   controversy already commenced by or against the class, (3) the desirability of
 13   concentrating the litigation of the claims in the particular forum, and (4) the
 14   difficulties likely to be encountered in the management of a class action. Id.
 15         Proceeding as a class is superior to other methods of resolving this case. A
 16   class action may be superior “[w]here classwide litigation of common issues will
 17   reduce litigation costs and promote greater efficiency.” Valentino v. Carter-Wallace,
 18   Inc., 97 F.3d 1227, 1234 (9th Cir. 1996). A class action may also be superior when
 19   “no realistic alternative” to a class action exists. Id. at 1234–35. Here, given the
 20   common issues presented by all class members, adjudicating these claims on an
 21   individual basis for more than 300 employees would be not only inefficient, but also
 22   unrealistic. Additionally, the Supreme Court has held that a district court “need not
 23   inquire whether the case, if tried, would present intractable management problems”
 24   in a “settlement-only class certification.” Amchem, 521 U.S. at 620. Accordingly,
 25   Plaintiff's proposed class is appropriate for provisional certification under Rules
 26   23(a) and 23(b)(3).
 27         B.     Fairness of the Proposed Settlement
 28         Plaintiff seeks preliminary approval of the Settlement. Rule 23(e) “requires the
                                                13
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  1   district court to determine whether a proposed settlement is fundamentally fair,
  2   reasonable, and accurate.” Staton, 327 F.3d at 959 (quoting Hanlon, 150 F.3d at
  3   1026). To determine whether this standard is met, courts consider factors including
  4   “the strength of the plaintiffs' case; the risk, expense, complexity, and likely duration
  5   of further litigation; the risk of maintaining class action status throughout the trial;
  6   the amount offered in settlement; the extent of discovery completed, and the stage of
  7   the proceedings; the experience and views of counsel; ... and the reaction of the class
  8   members to the proposed settlement.” Id. (quoting Molski v. Gleich, 318 F.3d 937,
  9   953 (9th Cir. 2003)).
 10            At the preliminary approval stage, a full “fairness hearing” is not required. In
 11   re Tableware Antitrust Litig., 484 F. Supp. 2d 1078, 1079 (N.D. Cal. 2007). Rather,
 12   the inquiry is whether the settlement “appears to be the product of serious, informed,
 13   non-collusive negotiations, has no obvious deficiencies, does not improperly grant
 14   preferential treatment to class representatives or segments of the class, and falls
 15   within the range of possible approval.” Id.
 16               1. The Settlement Is the Product of Arms-Length Negotiation
 17            Here, the settlement is the product of an arms-length negotiation process
 18   overseen by a well-respected neutral third party. (Grombacher Decl. ¶¶ 13-18.)
 19   Indeed, “[t]he assistance of an experienced mediator in the settlement process
 20   confirms that the settlement is non-collusive.” Satchell v. Fed. Express Corp., 2007
 21   WL 1114010 (N.D. Cal. Apr. 13, 2007) at *4; In re Apple Computer, Inc. Derivative
 22   Litig., 2008 U.S. Dist. LEXIS 108195 (N.D. Cal. Nov. 5,2008) No. C 06-4128 JF
 23   (HRL), (mediator's participation weighs considerably against any inference of a
 24   collusive settlement), D Amato v. Deutsche Bank, 236 F.3d 78, 85 (2d Cir. 2001) (a
 25   “mediator's involvement in pre-certification settlement negotiations helps to ensure
 26   that the proceedings were free of collusion and undue pressure.”) At all times, the
 27   Parties' negotiations were adversarial and non-collusive.
 28   ///
                                                  14
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  1             2. The Proposed Settlement Provides Meaningful Relief Given the
  2                   Strength of Plaintiff’s Claims and the Risks and Expenses of
  3                   Litigation
  4         In assessing the probability and likelihood of success, “the district court's
  5   determination is nothing more than an amalgam of delicate balancing, gross
  6   approximations, and rough justice.” Officers for Justice v. Civil Serv. Comm'n, 688
  7   F.2d 615,625 (9th Cir. 1982) (internal quotation marks omitted). There is “no single
  8   formula” to be applied, but the court may presume that the parties' counsel and the
  9   mediator arrived at a reasonable range of settlement by considering Plaintiff's
 10   likelihood of recovery. Rodriguez v. West Pub. Corp., 463 F.3d 948, 965 (9th Cir.
 11   2009).
 12         Here, each Participating Class Member will receive a meaningful sum—
 13   payouts will depend on the number of qualifying workweeks worked by each class
 14   member, but the average payment to class members is estimated to be about $1,300.
 15   (Grombacher Decl. ¶ 21.)
 16         The Settlement also presents a fair compromise in light of the risks and
 17   expense of continued litigation. Litigation had reached a stage where the parties had
 18   a clear view of the strengths and weaknesses of their positions. Specifically, the
 19   parties had the benefit of significant informal discovery, including written policies
 20   produced by Defendants as well as a sampling of employee payroll and timekeeping
 21   data, as well as a full day of mediation. (Grombacher Decl. ¶ 18.) With that
 22   information, the parties were able to realistically value Defendants’ liability and
 23   assess the risk of moving forward with class certification, motion practice, and trial.
 24   The $800,000 settlement amount represents about 13% of Defendants’ potential
 25   exposure in this case3. (Id. ¶ 23.) Again, like the monetary recovery, this percentage
 26
 27         3
             See, e.g., See, e.g., Aqui v. Sutton Foundation, Inc., Case No. 30-2008-00180062
      (Orange County Super. Ct.) (average net recovery of approximately $445); Badami v.
 28   Grassroots Campaigns, Inc., Case No. C 07-03465 JSW (N.D. Cal. Sept. 15, 2008)
                                                15
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  1   compares favorably with similar cases particularly given that Plaintiff faced
  2   significant hurdles to recovery.
  3          While Plaintiff is confident that he has strong claims, he also recognizes that if
  4   the litigation had continued, they may have encountered legal and factual hurdles
  5   that could have prevented the Class from obtaining any recovery. For example,
  6   although a number of cases have found wage and hours actions to be especially
  7   amenable to class resolution, 4 several have gone the other way, finding that some of
  8   the very claims at issue here were not suitable for class adjudication because they
  9   raised too many individualized issues 5. Some courts have denied certification even
 10
 11   (average net recovery of approximately $195); Sandoval v. Nissho of Cal., Inc., Case No.
      37-2009-00091861 (San Diego County Super. Ct.) (average net recovery of approximately
 12   $145); Fukuchi v. Pizza Hut, Case No. BC302589 (L.A. County Super. Ct.) (average net
      recovery of approximately $120); Contreras v. United Food Group, LLC, Case No.
 13   BC389253 (L.A. County Super. Ct.) (average net recovery of approximately $120); Ressler
 14   v. Federated Department Stores, Inc., Case No. BC335018 (L.A. County Super. Ct.)
      (average net recovery of approximately $90); Doty v. Costco Wholesale Corp., Case No.
 15   CV05-3241 FMC-JWJx (C.D. Cal. May 14,2007) (average net recovery of approximately
 16   $65); Sorenson v. PetSmart, Inc., Case No. 2:06-CV-02674-JAM-DAD (E.D. Cal.)
      (average net recovery of approximately $60); Lim v. Victoria's Secret Stores, Inc., Case No.
 17   04CC00213 (Orange County Super. Ct.) (average net recovery of approximately $35); and
      Gomez v. Amadeus Salon, Inc., Case No. BC392297 (L.A. Super. Ct.) (average net
 18   recovery of approximately $20).
 19          4
               See e.g. Brinker v. The Superior Court of San Diego, 53 Cal. 4th (2012) at 1033
 20   (“Claims alleging that a uniform policy consistently applied to a group of employees is in
      violation of the wage and hour laws are of the sort routinely, and properly, found suitable
 21   for class treatment... The theory of liability - that [the employer] has a uniform policy, and
      that that policy, measured against wage order requirements, allegedly violates the law - is
 22
      by its nature a common question eminently suited for class treatment.”).
 23          5
                 See Ali v. USA. Cab Ltd., 176 Cal. App. 4th 1333,1341 (2009) (denying
 24   certification because employees' declarations attesting to having taken meal and rest breaks
      demonstrated that individualized inquiries were required to show harm); Campbell v. Best
 25   Buy Stores, L.P., 2013 U.S. Dist. LEXIS 137792, at *30-41 (C.D. Cal. Sept. 20,2013)
 26   (following Brinker and denying certification of proposed off-the-clock and rest and meal
      break classes due to lack of uniform policy); Jimenez v. Allstate Ins. Co., 2012 U.S. Dist.
 27   LEXIS 65328 (C.D. Cal. Apr. 18 2012) (denying motion to certify meal and rest break
      classes based on employer's practice of understaffing and overworking employees)
 28   Gonzalez v. Officemax N. Am., 2012 U.S. Dist. LEXIS 163853 (C.D. Ca. Nov. 5,2012)
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  1   when an employer's policies are unlawful on their face. For instance, in Ordonez v.
  2   Radio Shack, Inc., 2013 U.S. Dist. LEXIS 7868 (C.D. Cal. Jan. 17,2013) *35-41, the
  3   court denied certification even though the plaintiff submitted evidence of a facially
  4   unlawful policy regarding rest breaks. The Ordonez court concluded that the
  5   predominance and superiority elements were not met based on the employer's
  6   presentation of anecdotal evidence of lawful compliance notwithstanding the
  7   unlawful policy. Id. at *38-40.
  8         Given the discretion accorded to the district court, even a relatively strong case
  9   on the merits may not satisfy the standards for certification on a contested motion.
 10   This reality added to the risk of continued litigation and militated in favor of
 11   settlement. Indeed, it is usually preferable to reach an early resolution of a dispute
 12   because such resolutions save time and money that would otherwise go to litigation.
 13   For example, if this action had settled following additional litigation, the settlement
 14   amount would likely have taken into account the additional costs incurred, and there
 15   may have been less available for Class Members.
 16         Certification, however, was not the only potential bar to recovery. Defendants
 17   would have argued that they maintained lawful policies and practices, including
 18   policies requiring employees to record all time worked, prohibiting off-the-clock
 19   work, providing employees with compliant meal and rest breaks (and paying
 20   premiums when appropriate), and reimbursing employees for business expenses as
 21   required by law. As such, Plaintiff would have to offer extensive evidence to
 22   establish that Defendants did not, in fact, conform to such policies.
 23         For example, as to Plaintiff’s “overtime calculation” claim, evidence
 24
      (same); Brown v. Fed Express Corp., 249 F.R.D. 580, 587-88 (C.D. Cal. 2008) (denying
 25   certification of driver meal and rest period claims based on the predominance of individual
      issues); Kenny v. Supercuts, Inc., 252 F.R.D. 641,645 (N.D. Cal. 2008) denying
 26
      certification on meal periods claim); Blackwell v. Skywest Airlines, Inc., 245 F.R.D.
 27   453,467-68 (S.D. Cal. 2007) (declining to certify class action because individual issues
      predominated when different employee stations provided different practices with respect to
 28   meal periods).
                                                  17
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  1   established that Defendants pay shift differentials to employees who work eligible
  2   shifts (typically the night shift), and correctly includes shift differential pay in the
  3   regular rate of pay for purposes of calculating overtime. Similarly, Defendants also
  4   appeared to pay meal period premiums at the higher shift differential rate, which
  5   comports with the recent decision in Ferra v. Loews Hollywood Hotel, LLC, 11 Cal.
  6   5th 858 (2021). While there was a dispute regarding whether bonuses paid to
  7   employees were discretionary or non-discretionary, Defendants paid so few bonuses
  8   during the Class Period that the damages were de minimus.
  9         Similarly, as to the meal break claims, the time records reveals that only 7% of
 10   all eligible meal periods appear on their face to be noncompliant (i.e., missed, late, or
 11   short) during the Class Period.
 12         Accordingly, the Settlement reflects a fair result.
 13             3. Attorney's Fees
 14         The Settlement provides for Two Hundred and Sixty-Four Thousand Dollars
 15   ($264,000.00) and Class Counsel’s actual costs not to exceed Fifteen Thousand
 16   Dollars and Zero Cents ($15,000.00). That amount reflects just under one-third of the
 17   $800,000 settlement amount. Similar cases have approved fees up to one-third of the
 18   settlement fund 6. Accordingly, Plaintiff's request for an award of one-third of the
 19
            6
                See Vizcaino v. Microsoft Corporation, 290 F.3d 1043 (9th Cir.2018) at 1048-50.
 20   The 33.33% award requested in this case is commensurate with percentage-of-the-fund
 21   awards made in other wage and hour class actions. See Garcia v. Lift, No.1:18-cv-01261-
      DAD JLT, 2020 U.S. Dist. LEXIS 220762, at *43-58, 2020 WL 6886383 (E.D. Cal. Nov.
 22   24, 2020) (approving attorneys' fees of one-third of the common fund in a wage and hour
      class action); Jamil v. Workforce Res., No. 18-CV-27 JLS (NLS), 2020 U.S. Dist. LEXIS
 23   2074902, at *11-12, 2020 WL 6544660 (S.D. Cal. Nov. 5, 2020); Howell v. Advantage RN,
 24   LLC, No. 17-CV-883-JLS (BLM), 2020 U.S. Dist. LEXIS 182505, at *14-15, 2020 WL
      5847565 (S.D. Cal. Oct. 1, 2020); Deaver v. Compass Bank, No. 13-cv-00222-JSC, 2015
 25   WL 8526982, at *9-14 (N.D. Cal. Dec. 11, 2015) (approving attorneys' fees of one-third of
 26   the settlement fund); Barbosa v. Cargill Meat Sols. Corp., 297 F.R.D. 431, 450 (E.D. Cal.
      2013) (awarding 33% of the common fund and collecting cases regarding the same);
 27   Burden v. SelectQuote Ins. Servs., No. C 10-5966 LB, 2013 WL 3988771, at *5 (N.D. Cal.
      Aug. 2, 2013) (awarding 33% of the settlement fund); Franco v. Ruiz Food Products, Inc.,
 28   No. 1:10-cv-02354-SKO, 2012 WL 5941801, at *18 (E.D. Cal. Nov. 27, 2012) (awarding
                                                 18
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  1   gross settlement amount is a reasonable amount of attorneys' fees. Plaintiff will
  2   provide detailed evidence and declarations supporting the requested fee award at the
  3   final approval stage.
  4            4. Incentive Award
  5         Plaintiff seeks a $7,500 incentive award to compensate the class representative
  6   for his time and efforts on behalf of the class. Incentive awards are payments to class
  7   representatives for their service to the class in bringing the lawsuit. Radcliffe v.
  8   Experian Info. Sols. Inc., 715 F.3d 1157, 1163 (9th Cir. 2013). Such awards “are
  9   fairly typical in class action cases” and are discretionary. Rodriguez v. W. Pub.
 10   Corp., 563 F.3d 948, 958 (9th Cir. 2009) (emphasis removed).
 11         The service award sought is within the range of awards approved by other
 12   federal judges in class actions. See, e.g., Wellens v. Sankyo, No. C 13-00581 WHO,
 13   2016 WL 8115715, at *3 (N.D. Cal. Feb. 11, 2016) (awarding $25,000 for named
 14   plaintiffs); Garner v. State Farm Mut. Auto. Ins., No. CV 08 1365 CW, 2010 WL
 15   1687832, at *17 n.8 (N.D. Cal. Apr. 22, 2010) (“Numerous courts in the Ninth
 16   Circuit and elsewhere have approved incentive awards of $20,000 or more ....”); Van
 17   Vranken v. Atlantic Richfield Co. 901 F.Supp.294 (N.D. Cal 1995) at 299-300
 18   (approving $50,000 to one named plaintiff); Alvarez v. Farmers Ins. Exchange, No.
 19   3:14-cv-00574-WHO, 2017 WL 2214585, at *1 (N.D. Cal. Jan. 18, 2017) (service
 20   award of $10,000 each was “fair and reasonable” where the aggregate amount of the
 21   service awards constituted 1.8% of the total settlement and the average payout to
 22   class members was $956.18); Wannemacher v. Carrington Mortg. Servs., LLC, No.
 23   SACV 122016 FMO, 2014 WL 12586117 (C.D. Cal. Dec. 22, 2014) (granting final
 24   approval and awarding enhancement 7.7 times greater than average class member
 25   recovery of $259); In re Toys R Us-Delaware, Inc.--Fair & Accurate Credit
 26   Transactions Act (FACTA) Litig., 295 F.R.D. 438, 472 (C.D. Cal. 2014) (final
 27
      33 percent of the common fund); Vasquez v. Coast Valley Roofing, Inc., 266 F.R.D. 482,
 28   491-92 (E.D. Cal. 2010) (awarding 33.33% of the common fund).
                                                19
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  1   approval granted and awarding enhancements 166 to 1,000 times greater than value
  2   of $5, $15, and $30 vouchers). Plaintiff will file a formal motion for the negotiated
  3   Class Representative Enhancement Payments once preliminary approval of the
  4   Settlement is granted.
  5              5. PAGA Payment
  6         The Settlement includes a PAGA payment of $50,000, with $37,500 (75% of
  7   the $50,000) being paid to the California Labor and Workforce Development
  8   Agency, and $12,500 (25% of the $50,0000) being paid to class members as part of
  9   the net settlement amount. This result was reached after good-faith negotiation
 10   between the parties. Where PAGA penalties are negotiated in good faith and “there
 11   is no indication that [the] amount was the result of self-interest at the expense of
 12   other Class Members,” such amounts are generally considered reasonable. Hopson v.
 13   Hanesbrands Inc., Case No. 08-00844, 2009 U.S. Dist. LEXIS 33900, at *24 (N.D.
 14   Cal. Apr. 3, 2009); see, e.g., Nordstrom Com. Cases, 186 Cal. App. 4th 576, 579
 15   (2010) (“[T]rial court did not abuse its discretion in approving a settlement which
 16   does not allocate any damages to the PAGA claims.”).
 17         C.     Settlement Administrator
 18         Plaintiff asks the Court to appoint Phoenix Settlement Administrators
 19   (“Phoenix”) as settlement administrator. The parties have jointly agreed to use
 20   Phoenix as the settlement administrator and they represent that they do not have any
 21   financial interest in Phoenix or otherwise have a relationship with Phoenix that could
 22   create a conflict of interest, (id.). Accordingly, Plaintiff requests that the Court
 23   appoints Phoenix as settlement administrator. Detailed evidence supporting
 24   administrator expenses will be required before final approval.
 25         D.     Notice of the Proposed Settlement
 26         Finally, Plaintiff seeks approval of the proposed manner and form of the
 27   notice that will be sent to the class members. For Rule 23(b)(3) classes, courts “must
 28   direct to class members the best notice that is practicable under the circumstances,
                                               20
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  1   including individual notice to all members who can be identified through reasonable
  2   effort.” Fed. R. Civ. P. 23(c)(2)(B).
  3            Here, the proposed manner of notice—centered on direct mail-- is adequate.
  4   Following preliminary approval, Defendants will provide an updated list of class
  5   members to the settlement administrator. See Settlement Agreement at ¶ Article I, f
  6   Phoenix will run the names and addresses from this list through the National Change
  7   of Address Database and update its information accordingly. Phoenix will then mail
  8   a notice to each class member via first class mail and perform skip traces on any
  9   notice package returned as undeliverable. See id. at ¶ Article III, 3.03.
 10            Moreover, the form of notice meets all of the requirements of Rule
 11   23(c)(2)(B). The parties proposed notice “clearly and concisely state, in plain, easily
 12   understood language (i) the nature of the action; (ii) the definition of the class
 13   certified; (iii) the class claims, issues or defenses; (iv) that the class member may
 14   enter an appearance through an attorney if the member so desires; (v) that the court
 15   will exclude from the class any member who requests exclusion; (vi) the time and
 16   manner for requesting exclusion; and (vii) the binding effect of a class judgment on
 17   members under Rule 23(c)(3).” Fed. R. Civ. P. 23(c)(2)(B).
 18   VI.      CONCLUSION
 19            The parties have negotiated a fair and reasonable settlement. Accordingly,
 20   Plaintiff moves the Court to preliminarily approve the Settlement Agreement; direct
 21   the dissemination of notice to the class as proposed; and set a hearing date and
 22   briefing schedule for final Settlement approval and Plaintiff's fee and expense
 23   application.
 24   ///
 25   ///
 26   ///
 27   ///
 28   ///
                                                 21
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  1   DATED: December 21, 2022                   BRADLEY/GROMBACHER, LLP
                                                 CAPSTONE LAW APC
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  3
                                         By:     /s/ Kiley Grombacher
  4
                                                 Marcus Bradley, Esq.
  5                                              Kiley Grombacher, Esq.
  6                                              Lirit King, Esq.
                                                 Orlando Villalba, Esq.
  7
  8                                              Attorneys for Plaintiff

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